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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                          Case No.: 8:11-CR-356-T-30EAJ

DERRICK SPANN
______________________________________/

                            REPORT AND RECOMMENDATION

       Before the court is Defendant’s Motion to Suppress Miranda Violation (Dkt. 69) and the

United States’ Response in Opposition (Dkt.87).1         Following an evidentiary hearing, the

undersigned recommends that the motion to suppress be denied.

                                        Findings of Fact

           The following facts are established by a preponderance of credible evidence:

1.     On June 5, 2011, between 2:00 p.m. and 3:00 p.m., Detective Jamie Lynn Pope (“Pope”) of

       the Tampa Police Department and Detective Timothy Connolly (“Connolly”) of the Pinellas

       County Sheriff’s Office (“PCSO”), among other law enforcement, placed Defendant under

       arrest at Tampa International Airport on federal drug charges.

2.     While officers escorted Defendant to an airport holding cell, Defendant asked for the reason

       for the arrest and whether the officers were arresting him on state or federal charges.

       Connolly replied that Defendant was being arrested on federal charges. Defendant indicated

       that he wanted to cooperate.

3.     Approximately fifteen minutes later, Connolly and Agent Jeffrey McConaughey

       (“McConaughey”) of the Drug Enforcement Administration (“DEA”) escorted Defendant


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        The motion has been referred to the undersigned for a report and recommendation (Dkt.
69). See 28 U.S.C. § 636(b); Local Rules 6.01(b) and (c), M.D. Fla.
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       from the airport holding cell to a police cruiser outside the airport, which was driven by

       Detective Donald Wiwi (“Wiwi”) of the PCSO. No interrogation occurred during this time.

4.     Wiwi and Connolly transported Defendant in the police cruiser to a PCSO interrogation

       facility.

5.     In the police cruiser, Defendant initiated contact and engaged in a casual conversation with

       Connolly and Wiwi. Defendant stated that he wanted to cooperate, speak with a case agent,

       know who was arresting him, and know what was going to happen. Wiwi responded that

       he and Connolly were transporting Defendant to the interrogation facility, Defendant was

       being arrested on federal narcotics charges, they were not the case agents, and Defendant

       would have a chance to speak with the case agent later. No interrogation occurred during

       this time.

6.     After arriving at the interrogation facility, Connolly and Wiwi escorted Defendant inside

       the interrogation facility to an interview room.

7.     Defendant’s girlfriend, Nakesha Webb, waited in another interview room at the interrogation

       facility.

8.     McConaughey advised Defendant of his Miranda rights prior to questioning.2

10.    Shortly thereafter, Pope arrived at the interrogation facility. Before questioning Defendant,

       Pope confirmed with McConaughey that McConaughey had previously advised Defendant

       of his Miranda rights.

11.    The officers interviewed Defendant for approximately one hour.



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        Although Defendant testified that officers led Webb, who was crying, into the interview
room prior to being advised of his Miranda rights, the court finds this testimony not credible.

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12.    During the interview, Defendant made several incriminating statements, including

       acknowledging investing $18,000 for one kilogram of cocaine and fifty-eight pounds of

       marijuana and remaining in contact with his partner Henry Morant, who transported the

       drugs from Texas to Florida. Defendant also disclosed previously conducting numerous

       transactions of this same nature and utilizing the various postal services to mail kilogram

       quantities of cocaine and marijuana.

13.    Defendant gave oral consent to search his Pinellas County, Florida and Houston, Texas

       residences.

14.    Near the end of the interview, officers escorted Webb into the interrogation room and

       permitted her to speak with Defendant. While saying goodbye to Defendant, Webb became

       upset.

15.    On June 6, 2011, Special Agent Russell Baer (“Baer”) of the DEA provided Defendant with

       a written consent-to-search form. Defendant indicated a desire to cooperate. Baer reviewed

       the form with Defendant, and explained to Defendant that he had an absolute right to refuse

       to consent. Defendant signed the written consent-to-search form for his Houston, Texas

       residence (Govt’s Ex. 1).

                                       Conclusions of Law

       Defendant alleges that: (1) his waiver of his Miranda rights was invalid because it was

obtained through intimidation and coercion; and (2) his post-Miranda confession at the interrogation

facility is inadmissible because it was obtained using Defendant’s prior incriminating statements

obtained in violation of his Miranda rights. The Government responds that Defendant indicated that

he wished to cooperate with the investigation, there is no indication that Defendant’s waiver was


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caused by coercion or intimidation, and law enforcement did not interrogate Defendant before

advising Defendant of his Miranda rights.

1.     Defendant’s Waiver of His Miranda Rights Was Valid

       Before questioning a person who has been taken into police custody, law enforcement must

inform the person of: (1) the right to remain silent; (2) the possibility that the person’s statements

could later be used as evidence; and (3) the right to the presence of retained or appointed counsel.

Miranda v. Arizona, 384 U.S. 436, 444 (1966).

       Nonetheless, a suspect “may waive effectuation of these rights, provided the waiver is made

voluntarily, knowingly and intelligently.” Id. at 444. In assessing the validity of such a waiver, a

court must undertake the following two-part inquiry:

       First, the relinquishment of the right must have been voluntary in the sense that it
       was the product of a free and deliberate choice rather than intimidation, coercion, or
       deception. Second, the waiver must have been made with a full awareness of both
       the nature of the right being abandoned and the consequences of the decision to
       abandon it. Only if the “totality of the circumstances surrounding the interrogation”
       reveal both an uncoerced choice and the requisite level of comprehension may a
       court properly conclude that the Miranda rights have been waived.

Moran v. Burbine, 475 U.S. 412, 421 (1986) (citations omitted); see also Arizona v. Fulminante, 499

U.S. 279, 286 & n.2 (1991) (identifying some of the factors a court may consider in analyzing the

totality of the circumstances, including a defendant’s age, education, and intelligence). The

prosecution must establish the defendant’s waiver of Miranda rights by a preponderance of the

evidence. Colorado v. Connelly, 479 U.S. 157, 168 (1986).

        Defendant alleges that at the interrogation facility, but before being advised of his Miranda

rights, officers used Defendant’s girlfriend to coerce Defendant into making incriminating

statements. However, the court finds Defendant’s testimony regarding the encounter with his



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girlfriend before being advised of his Miranda rights not credible. Notwithstanding, Defendant

repeatedly reflected a desire to cooperate before entering the interrogation facility. Any interaction

between the officers and Defendant’s girlfriend in Defendant’s presence did not coerce Defendant’s

incriminating statements. Defendant’s contention that law enforcement threatened to obtain search

warrants for Defendant’s residences and threatened to press additional charges is also without merit.

Defendant’s waiver of his Miranda rights was valid.

2.     Defendant’s Post-Miranda Confession Is Admissible

       In addition to arguing that his waiver of Miranda rights was invalid, Defendant challenges

the admissibility of his post-Miranda confession at the interrogation facility on the basis that it was

elicited using Defendant’s previous incriminating statements. Defendant contends that the officers

obtained his previous incriminating statements in violation of his Miranda rights by interrogating

Defendant during the transport from the airport to the interrogation facility, and officers failed to

take any curative measures that rendered the post-Miranda confession admissible.

       However, the officers did not interrogate Defendant until after McConaughey properly

advised Defendant of his Miranda rights at the interrogation facility. Any conversation that occurred

prior to that time was not in the nature of interrogation. Similarly, Defendant did not make any

incriminating statements prior to being advised of his Miranda rights.3 Therefore, the officers could

not have used these alleged previous incriminating statements to elicit Defendant’s post-Miranda

confession. Defendant’s post-Miranda confession is admissible.

                                              Conclusion

       In light of the totality of the circumstances, law enforcement lawfully obtained Defendant’s



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           Even Defendant testified as to this fact.

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post-Miranda statements at the interrogation facility.

       Accordingly, and upon consideration, it is RECOMMENDED that:

       (1)     Defendant’s Motion to Suppress Miranda Violation (Dkt. 69) be DENIED.

Date: September 30, 2011




                                    NOTICE TO PARTIES

       Failure to file written objections to the proposed findings and recommendations contained

in this report within fourteen (14) days from the date of this service shall bar an aggrieved party

from attacking the factual findings on appeal. See 28 U.S.C. § 636(b)(1).

       Any party objecting to the report and recommendation shall file a copy of the

transcript of the hearing on the motion to suppress.


Copies to:
Counsel of Record
District Judge




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